                                                                                       rILED
                                                                                     rsr{ivrur, !rc
                                                               MAY                         31   2(]I9
                  IN THE DISTRICT COURT OF THE UNITED                STATES
                 FoR THE WESTERN DISTRICT oF NoRTH CAROLINA u-r.                 Dm;;"r#r,*
                             ASHEVTLLE           DrvrsroN                  f,tlrrr
                              DOCKET NO. 1:18 CR 145

UNITED STATES OF        AMERICA              )
                                             )
v.                                           )          ENTRYAND
                                             )     ACCEPTANCE OF GUTLTY PLEA
                                             )       (RULE 11 PROCEEDTNG)
JOHNATHANCODYALEXANDER                       )
                                             )

       On the date indicated below, the defendant appeared with counsel, was duly
sworn, and answered the following questions on the record:

Questions (asked bv Maoistrate Judoe)                   Defendant's Answers

1.      Do you understand that you are                 Yes   (zJ        No   (   )
under oath, and that you are required
to give truthful answers to the questions
I am about to ask?

2.      Do you understand that if you   give           Yes
                                                             Q,{        No   (   )
false information under oath you may be
prosecuted for perjury or false statement?

3.       After consulting with your attorney,           vest,4/ No( )
do you want this Court to accept your
guilty plea to one or more counts in the
Bill of lndictment (or Bill of lnformation)?

4.      Do you understand that you have lhe            vesv{            No(      )
right to have a U.S. District Judge conduct
this proceeding?

5.     Recognizing your right to proceed               vesul            Not      I
before a District Judge, do you expressly
consent to proceed in this Court, that is,
before a U.S. Magistrate Judge?

6.    Are you now under the influence       of         Yes   (   )      No   t.f/
alcohol, medicines, or drugs of any sort?




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7.     [s your mind clear, and do you understand Yes            (4     No   (   )
that you are here to enter a guilg plea in your case?

8.      Have you received a copy of    the                Yes   (A     No   (   )
indictmenUinformation and have you discussed
its contents with your attorney?

       [The charges, maximum penalties, and mandatory
       minimum sentences (if any) were explained, on
       the record, at this point in the proceeding.I

9.     Do you fully understand the charge(s)              ves   tv.{   No   (   )
against you, including the maximum (and, where
applicable, minimum) penalties you face if
convicted?

10.      Have you been advised by your    attorney V., A,.{            No   (   )
that if you are not a citizen of the United States,
your guilty plea may have adverse immigration
consequences?

 11. Haveyou been advised byyourattorney Ves                    <f{    No(      )
that if you are not a citizen of the United States,
your guilty plea may result in deportation or
removal from the United States?

12.     Do you understand that entering a plea       of   Ves   LZ{    No   (   )
guilty to a felony charge may deprive you, at
least for a time, of certain civil rights, such as
the right to vote, hold public office, serve on a
jury, and possess a firearm?

'13.   Have you spoken with your attorney about           ves'z{ No( )
how the U. S. Sentencing Guidelines might apply
to your case?

14. Do you understand that the District Judge             v""<z{ No(            )
will not be able to determine the applicable
Sentencing Guidelines range until after your
Presentence Report has been prepared, and
you have had an opportunity to comment on it?

15.     Do you also understand that in some               ves('/ tlo(           )
circumstances you may receive a sentence
that is different-that is, either higher or
lower-than that called for by the Guidelines?




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16.    Do you understand that the Court may
order restitution, where applicable?
                                                  v",   <t/     No (



17.     Do you understand that if the sentence    ves   (yzf    No   (       )
is more severe than you expected, or the
Court does not accept the government's
sentencing recommendation, you will still
be bound by your plea and will have no
right to withdraw it?

18.    Do you understand that parole has          Yes(1         No(      )
been abolished, and that if you are
sentenced to a term of imprisonment
you will not be released on parole?

19.    lf your sentence includes imprison-        ves   Oz{     No   (   )
ment, do you understand that the District
Judge may also order a term of "supervised
release"?

20.     Do you also understand that if you        Yes   (       No(      )
violate the terms and conditions of
supervised release, which typically lasts
from one to five years, you could be returned
to prison for an additional period of time?

21.     Do you understand that you have a         ves   (,,.{   No   (   )
right to plead NOT GUILTY, to have a speedy
trial before a judge and jury, to summons
witnesses to testify in your behalf, and
to confront witnesses against you?

22.      lf you exercised your right to trial     vesl{         No(      )
you would be entitled to the assistance of a
lawyer, would not be required to testify, would
be presumed innocent, and the burden
would be on the government to prove your guilt
beyond a reasonable doubt. Do you understand
all of these rights?

23.    By entering this plea of guilty you        Yes   (y.f    No   (   )
are waiving (or giving up) these rights.
There will be no trial. lf your guilty plea
is accepted, there will be one more hearing,
where the District Judge will determine
what sentence to impose. Do you
understand that?




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 24.   Are you, in fact, guilty of the counls           Ves   1{      No    1   )
in the Bill of lndictment (or Bill of lnformation)
to which you have come to court today
to plead guilty?

25.    Have the United States and the defendant Yes           (r)     No    (   )
entered a Plea Agreement in this case?

              flhe attorneys for the Government and the
              Defendant summarized the terms of any Plea
              Agreement to the Court, on the record, at this point
              in the proceeding. However. the parties
              Understand that the written. filed Plea Aqreement
              is the best statement of those terms. and therefore
              "speaks for itself'.1

26.    Do you understand those to be the terms          ves(t/        t'to(     )
of your Plea Agreement, and do you agree with
those terms?

27.    Has the right to appeal your conviction         ves    (v.{    No    (   )
and/or sentence been expressly waived in the
Plea Agreement?

28.    Has the right to challenge your conviction      v"r<{          No(       )
and/or sentence in a post-conviction proceeding
also been expressly waived in the Plea Agreement?

29.   ls that your signature on the Plea               Yes(4          No    (   )
Agreement?

30.    Are you aware that a Factual Basis     has   Yes       (U-f    No    (   )
been filed as an attachment to your Plea Agreement?

3'l . Have you read this Factual Basis and do          tes    1y/     No    (   )
you understand it and agree with it?

32.    Has anyone threatened, intimidated,     or      Yes    (   )   Not4
forced you to enter your guilty plea today?

33.     Other than the terms of your Plea   Agree-     Yes    ( I     tlo   <n{
ment, has anyone made you promises of leniency
or a light sentence to induce you to plead guilty?




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34.    Have you had enough time lo discuss with
your attorney any possible defenses you may
                                                     ,""<r,/       *o< l
have to these charges?

35.    Are you satisfied with the services   of      Yes 1z    1   No   (    )
your attorney in this case?

36.     ls there anything you would like to say      Yes   (   )   No   tt   l/
al this time about the services of your attorney?


                 [Any statement that was made is on the
                                 record.l


37.     Have you heard and understood all parts      ves(v{        Nor       )
of this proceeding, and do you still wish to
plead guilty?

38.   Do you have any questions or     statements    Yes   (   )   No   oz{
you would like to make at this time?


                 [Any statement that was made is on the
                                 record.l


39.    Counsel, have you reviewed each       of     V",    V{      No   (    )
the terms of the Plea Agreement with
[the defendant], and are you satisfied
that he (she) understands those terms?


                 [Any statement that was made is on the
                                 record.I




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     ON ADVICE AND IN THE PRESENCE OF COUNSEL, THE DEFENDANT
CONSENTS TO THE ACCEPTANCE OF HIS/HER GUILTY PLEA BY A
MAGISTRATE JUDGE. BY SIGNING BELOW, THE DEFENDANT (AND COUNSEL)
AFFIRM THAT THE ANSWERS GIVEN DURING THIS PROCEEDING ARE TRUE
AND COMPLETE TO THE BEST OF THEIR KNOWLEDGE.




                                                  Counsel's Signaturei


       Based upon the representations and answers given by the defendant (and
counsel) in this proceeding, the Court finds that the defendant's plea is knowingly and
voluntarily made; and that the defendant understands the charges, potential
penalties, and consequences of his (her) plea. The Court further finds that the
defendant's plea is supported by an independent basis in fact containing each of the
elements of the offenses to which the defendant is pleading. Based thereon, the
defendant's plea is hereby accepted. ln addition, I recommend that the district court
accept the defendant's plea and enter judgment thereon. lf you have any objection to
my recommendation, you have 14 days to file such objections in writing with this
Court. lf you fail to object within that 1 4 day period, it will be deemed a waiver of any
such objection.




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